Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 1 of 7 Page ID #:29334



     1   CENTER FOR HUMAN RIGHTS &
         CONSTITUTIONAL LAW
     2   Peter A. Schey (Cal. Bar No. 58232)
         Carlos Holguín (Cal. Bar No. 90754)
     3   Laura N. Diamond (Cal. Bar. No. 185062)
         Rachel Leach (D.C. Bar No. 1047683)
     4   Center for Human Rights & Constitutional Law
         256 South Occidental Boulevard
     5   Los Angeles, CA 90057
         Telephone: (213) 388-8693
     6   Facsimile: (213) 386-9484
         Email: pschey@centerforhumanrights.org
     7          crholguin@centerforhumanrights.org
                ldiamond@centerforhumanrights.org
     8          rleach@centerforhumanrights.org
     9   Listing continues on next page
    10   Attorneys for Plaintiffs
    11
    12                          UNITED STATES DISTRICT COURT
    13                         CENTRAL DISTRICT OF CALIFORNIA
    14                                    WESTERN DIVISION
    15
    16   Jenny Lisette Flores., et al.,            Case No. CV 85-4544-DMG-AGRx
    17                    Plaintiffs,              EX PARTE APPLICATION FOR
                                                   TEMPORARY RESTRAINING
    18         v.                                  ORDER AND ORDER TO SHOW
                                                   CAUSE WHY A PRELIMINARY
    19   William Barr, Attorney General of the     INJUNCTION AND CONTEMPT
         United States, et al.,                    ORDER SHOULD NOT ISSUE
    20
                          Defendants.              Hearing: None set
    21
    22
         Dated:       June 26, 2019
    23
    24
    25
    26
    27
                                                            EX PARTE APPLICATION FOR TEMPORARY
    28                                                     RESTRAINING ORDER AND ORDER TO SHOW
                                                         CAUSE WHY A PRELIMINARY INJUNCTION AND
                                                               CONTEMPT ORDER SHOULD NOT ISSUE
                                                                             CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 2 of 7 Page ID #:29335



     1   Counsel for Plaintiffs, continued
     2
     3   USF SCHOOL OF LAW IMMIGRATION CLINIC
         Bill Ong Hing (Cal. Bar No. 61513)
     4   2130 Fulton Street
     5   San Francisco, CA 94117-1080
         Telephone: (415) 422-4475
     6   Email: bhing@usfca.edu
     7
         ORRICK, HERRINGTON & SUTCLIFFE LLP
     8   Kevin Askew (Cal. Bar No. 238866)
     9   777 South Figueroa Street, Suite 3200
         Los Angeles, CA 90017
    10   Telephone: (213) 629-2020
    11   Email: kaskew@orrick.com

    12   ORRICK, HERRINGTON & SUTCLIFFE LLP
    13   Elyse Echtman (pro hac vice pending)
         Shaila Rahman Diwan (pro hac vice pending)
    14   51 West 52nd Street
    15   New York, NY 10019-6142
         Telephone: 212/506-3753
    16   Email: eechtman@orrick.com
    17   Email: sdiwan@orrick.com

    18   LA RAZA CENTRO LEGAL, INC.
    19   Michael S. Sorgen (Cal. Bar No. 43107)
         474 Valencia Street, #295
    20   San Francisco, CA 94103
    21   Telephone: (415) 575-3500

    22   THE LAW FOUNDATION OF SILICON VALLEY
    23   Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
         Katherine H. Manning (Cal. Bar No. 229233)
    24   Annette Kirkham (Cal. Bar No. 217958)
    25   152 North Third Street, 3rd floor
         San Jose, CA 95112
    26   Telephone: (408) 280-2437
    27   Facsimile: (408) 288-8850
                                                          EX PARTE APPLICATION FOR TEMPORARY
    28                                                   RESTRAINING ORDER AND ORDER TO SHOW
                                                       CAUSE WHY A PRELIMINARY INJUNCTION AND
                                                             CONTEMPT ORDER SHOULD NOT ISSUE
                                                                           CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 3 of 7 Page ID #:29336



     1   Email: jenniferk@lawfoundation.org
     2         kate.manning@lawfoundation.org
               annettek@lawfoundation.org
     3
     4   NATIONAL CENTER FOR YOUTH LAW
         Leecia Welch (Cal. Bar No. 208741)
     5   Neha Desai (Cal. RLSA Bar No. 803161)
     6   405 14th Street, 15th Floor
         Oakland, CA 94612
     7   Telephone: (510) 835-8098
     8   Email: lwelch@youthlaw.org
                ndesai@youthlaw.org
     9
         U.C. DAVIS SCHOOL OF LAW
    10
         Holly S. Cooper (Cal. Bar No. 197626)
    11   One Shields Ave. TB 30
         Davis, CA 95616
    12
         Telephone: (530) 754-4833
    13   Email: hscooper@ucdavis.edu
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27                                                    EX PARTE APPLICATION FOR TEMPORARY
                                                         RESTRAINING ORDER AND ORDER TO SHOW
    28                                                 CAUSE WHY A PRELIMINARY INJUNCTION AND
                                                             CONTEMPT ORDER SHOULD NOT ISSUE
                                                                           CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 4 of 7 Page ID #:29337



     1                               EX PARTE APPLICATION
     2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
     3         PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 65 and Local
     4   Rule 7-19, Plaintiffs in the above-captioned matter, hereby apply ex parte to this
     5   Court for a temporary restraining order and for issuance of an order to show cause
     6   why a preliminary injunction should not issue. This ex parte application is based
     7   upon this Application, the Memorandum of Points and Authorities below, the
     8   concurrently-filed Declaration of Class Counsel Peter Schey and Supplemental
     9   Declaration of Elyse D. Echtman and all exhibits thereto, all papers on file in this
    10   action, and any oral argument of counsel the Court may hear. The Memorandum of
    11   Points and Authorities in support of this Application is attached as Exhibit A.
    12         The Plaintiffs bring this application on an ex parte basis because, as
    13   described in the Motion attached, the conditions at multiple U.S. Customs and
    14   Border Patrol (“CBP”) facilities are in non-compliance with the Jan. 17, 1997
    15   Settlement Agreement in Flores v. Reno et al., CV 85-4544 (RJK) (Px) (“Flores
    16   Settlement Agreement”) and this Court’s June 27, 2017 Order, Docket No. 363.
    17   The non-compliance has created a health crisis that is in need of immediate
    18   attention in order to avoid further loss of life. Plaintiffs respectfully submit that ex
    19   parte relief is therefore appropriate given that the facts in the Motion and its
    20   supporting papers evidence that immediate and irreparable injury will result to
    21   Plaintiffs before opposition can be heard.
    22                  Statement of Compliance with Civil Local Rule 7-19
    23         Counsel for Defendants are:
    24         Sarah B. Fabian             Sarah.B.Fabian@usdoj.gov
    25         William Silvis              William.Silvis@usdoj.gov
    26         Pursuant to Civil Local Rule 7-19.1 and Fed. R. Civ. P. 65, counsel for the
    27   Plaintiffs informed the Monitor and counsel for the government of the substance
                                                                   EX PARTE APPLICATION FOR TEMPORARY
    28                                                            RESTRAINING ORDER AND ORDER TO SHOW
                                                      1         CAUSE WHY A PRELIMINARY INJUNCTION AND
                                                                      CONTEMPT ORDER SHOULD NOT ISSUE
                                                                                    CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 5 of 7 Page ID #:29338



     1   and date of this ex parte application. Declaration of Class Counsel Peter Schey ¶ 2;
     2   Supplemental Declaration of Elyse D. Echtman ¶¶ 4-7.
     3          On June 19, 2019, Plaintiffs’ counsel served a formal Notice of Non-
     4   Compliance (the “Notice”) on Defendants and the Monitor pursuant to Section D.3
     5   of the October 5, 2018 Order Appointing an Independent Monitor, Flores v.
     6   Sessions, et al., CV 85-4544-DMG (AGRx), Docket No. 494 (the “Monitoring
     7   Order”), detailing grave violations at CBP Facilities that created a public health
     8   emergency requiring immediate attention. Echtman Decl. ¶ 4. Because of the
     9   public health crisis and the threat to lives of the children, Plaintiffs’ counsel asked
    10   that the Monitor expedite Defendants’ response time to the Notice to two business
    11   days, as provided for in Section D.3(b) of the Monitoring Order (“In an emergency,
    12   Class Counsel may request that the Monitor and the Court waive the time periods
    13   set forth in Section D.3 of this Order.”). Echtman Decl. ¶ 5; Monitoring Order at
    14   20-21. The Monitor responded on June 21, 2019, acknowledging receipt of the
    15   Notice and indicating that the Monitor had begun an inquiry into it. Echtman Decl.
    16   ¶ 6.
    17          On June 23, 2019, Plaintiffs provided Defendants and the Monitor with a
    18   Supplement to the Notice of Non-Compliance (the “Supplemental Notice”),
    19   supported by additional declarations from children at the CBP facilities in the El
    20   Paso and RGV sectors. Echtman Decl. ¶ 7. These declarations provided additional
    21   evidence substantiating the unsafe and unsanitary conditions and public health
    22   crises existing at these facilities. Id. ¶ 7. In the Supplemental Notice, Plaintiffs’
    23   counsel reiterated the request for the Monitor to expedite the government’s
    24   response time, pursuant to Section D.3(b) of the Monitoring Order. Id. To date, the
    25   Monitor has not taken any action to expedite resolution of this dispute which is
    26
    27                                                             EX PARTE APPLICATION FOR TEMPORARY
                                                                  RESTRAINING ORDER AND ORDER TO SHOW
    28                                                          CAUSE WHY A PRELIMINARY INJUNCTION AND
                                                     2                CONTEMPT ORDER SHOULD NOT ISSUE
                                                                                    CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 6 of 7 Page ID #:29339



     1   endangering the health and welfare of children, including infants, at the CBP
     2   facilities. Id.
     3          Plaintiffs have informed the Monitor that they intend to seek immediate relief
     4   from this Court. Id. ¶ 8.
     5
     6   Dated: June 26, 2019                   /s/Peter Schey
                                                    Attorneys for Plaintiffs
     7
                                                CENTER FOR HUMAN RIGHTS &
     8                                          CONSTITUTIONAL LAW
     9                                          Peter A. Schey
                                                Carlos Holguín
    10                                          Laura N. Diamond
    11                                          Rachel Leach
    12                                          USF School of Law Immigration Clinic
    13                                          Bill Ong Hing
    14
                                                ORRICK, HERRINGTON & SUTCLIFFE
    15                                          LLP
                                                Kevin Askew
    16
                                                Elyse Echtman
    17                                          Shaila Rahman Diwan
    18
                                                LA RAZA CENTRO LEGAL, INC.
    19                                          Michael Sorgen
    20
                                                LAW FOUNDATION OF SILICON
    21                                          VALLEY
                                                Jennifer Kelleher Cloyd
    22
                                                Katherine H. Manning
    23                                          Annette Kirkham
    24
                                                NATIONAL CENTER FOR YOUTH LAW
    25                                          Leecia Welch
                                                Neha Desai
    26
    27                                                           EX PARTE APPLICATION FOR TEMPORARY
                                                                RESTRAINING ORDER AND ORDER TO SHOW
    28                                                        CAUSE WHY A PRELIMINARY INJUNCTION AND
                                                   3                CONTEMPT ORDER SHOULD NOT ISSUE
                                                                                  CV 85-4544-DMG-AGRX
Case 2:85-cv-04544-DMG-AGR Document 572 Filed 06/26/19 Page 7 of 7 Page ID #:29340



     1                                     U.C. DAVIS SCHOOL OF LAW
     2                                     Holly S. Cooper

     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27                                                    EX PARTE APPLICATION FOR TEMPORARY
                                                         RESTRAINING ORDER AND ORDER TO SHOW
    28                                                 CAUSE WHY A PRELIMINARY INJUNCTION AND
                                             4               CONTEMPT ORDER SHOULD NOT ISSUE
                                                                           CV 85-4544-DMG-AGRX
